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                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY MAMMANA,              )              CIVIL ACTION NO. 4:17-cv-0645
           Plaintiff          )
                              )              ( BRANN, D.J.)
     v.                       )
                              )              (ARBUCKLE, M.J.)
FEDERAL BUREAU OF PRISONS, et )
al.,                          )
             Defendants       )
 REPORT AND RECOMMENDATION REGARDING MOTION TO DISMISS
    AND/OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT
                          (Doc. 23)

 I.   INTRODUCTION

      On April 11, 2017, Plaintiff Anthony Mammana (“Plaintiff”), a former

Federal inmate who had been housed in a Special Housing Unit (“SHU”) of the

Low Federal Correctional Institution in Allenwood, Pennsylvania (“LFCI

Allenwood”), filed his initial Complaint asserting numerous claims against the

following Defendants: Federal Bureau of Prisons (the “FBOP”); Lieutenant Barben

(“Lt. Barben”); Medical Assistant Taylor (“Defendant Taylor”); Physician

Assistant Stoltz (“Defendant Stolz”); Psychologist Bruno (“Defendant Bruno”);

and John Does (1-10) (“Defendant John Does”) (collectively, “Defendants”). (Doc.

1). On November 27, 2017, Plaintiff filed his Amended Complaint, asserting

claims of: (1) Malicious Prosecution; (2) violation of Due Process; and (3) Cruel

and Unusual Punishment in violation of the Eighth Amendment. (Doc. 22). On

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December 11, 2017, Defendants filed a “Motion to Dismiss And/Or, in the

Alternative, for Summary Judgment” in response to the Amended Complaint.

(Doc. 23).

      This Court will first analyze Plaintiff’s claims in light of the Motion to

Dismiss legal standard. Any surviving claims will be analyzed in accordance with

the Motion for Summary Judgment legal standard. For the reasons articulated

herein, I RECOMMEND the Motion to Dismiss and/or, in the Alternative, for

Summary Judgment be GRANTED IN PART.

II.   FACTUAL BACKGROUND

      A.     ALLEGATIONS

      According to his Complaint, throughout June of 2015 Plaintiff experienced

extreme illness after each meal and sought medical care. (Doc. 27-1). After seeking

out and receiving medical care, Defendant Taylor issued an incident report

charging Plaintiff with faking illness. (Doc. 27-1, ¶¶ 2-3). On or around July 6,

2015, Plaintiff was moved to an administrative segregation cell as a result of the

charge. Id. Plaintiff was housed with another inmate in the administrative

segregation cell. (Doc. 27-1, p. 4).

      On July 7, 2015, Plaintiff was transferred to a different cell in the LFCI

Allenwood SHU shared with Jesse Cabe, an individual known to Plaintiff as, “a

notorious child molester.” (Doc. 27-1, ¶ 6). Cabe is twice Plaintiff’s weight and

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could easily overpower Plaintiff. (Doc. 27-1, ¶ 8). The correctional officer opened

Cabe’s cell door and pulled Plaintiff’s arm so as to direct Plaintiff to enter the cell.

(Doc. 27-1, p. 7). Plaintiff said, “I’m not going in there.” Id. The correctional

officer pulled Plaintiff’s arm again and said, “You’re going in there,” and Plaintiff

replied, “never.” Id. Plaintiff was concerned about being sexually assaulted by

Cabe, and refused to be put in his cell. Id.

      The correctional officer reported the incident to Lt. Barben. (Doc. 27-1, p.

8). When Lt. Barben arrived at Cabe’s cell he asked, “Are you refusing to take a

celle [sic]?” Plaintiff responded, “No sir, I’m not refusing a celle [sic], just him,”

referring to Cabe. (Doc. 27-1, p. 9). Lt. Barben warned, “last chance” Plaintiff

stated, “I can’t do it.” (Doc. 27-1, p. 10).

      Plaintiff alleges Lt. Barben screamed and threatened Plaintiff with transfer to

a high security prison. (Doc. 27-1, p. 11). Lt. Barben directed the correctional

officers to move Plaintiff to the “Yellow Room.”1 (Doc. 27-1, p. 12).

      Plaintiff claims that, just before entering the Yellow Room, he was told to

remove his prison issued clothing and was given transparent thin paper clothing.

(Doc. 27-1, p. 13). The Yellow Room is painted bright yellow (Doc. 27-1, p. 14)

and bright lights are on twenty-four (24) hours a day. (Doc. 27-1, p. 15). As of the



1
  Neither Plaintiff nor Defendant specify where the Yellow Room is located within
the prison.
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date Plaintiff was brought there, the Yellow Room contained a thin two (2) inch

thick mattress. (Doc. 27-1, p. 16). When Plaintiff was placed in the Yellow Room,

he alleges that he was not assigned a blanket, pillow, sheets, wash cloth, towel,

tooth brush, or toothpaste. Id.

      Plaintiff alleges that the air conditioner remained on high for the duration of

his time in the Yellow Room. (Doc. 27-1, p. 18). Plaintiff asserts he slept a

“maximum of a few moments” because of the constant bright lights and shivering

due to lack of proper clothing or blanket. Id.

      Plaintiff contends he was confined to the Yellow Room for approximately

four (4) consecutive days. (Doc. 27-1, ¶ 22). Plaintiff reported that he was not

released for any exercise during this time. Id.

      Correctional officers provided Plaintiff with three (3) meals per day (Doc.

27-1, ¶ 23); however, the Defendant John Does routinely took Plaintiff’s meals

away from him before he was finished eating.2 Id. Plaintiff asserts the premature

taking of these meals deprived him of hundreds of calories. Id. Plaintiff also

alleges that the Defendant John Does harassed Plaintiff continually, asking him if

he was “ready to tap out.” (Doc. 27-1, p. 20). Plaintiff contends Lt. Barben and the




2
 I infer that the Defendant John Does are employed as correctional officers at
LFCI Allenwood.
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Defendant John Does showed deliberate indifference to the conditions they placed

Plaintiff in during confinement in the Yellow Room. (Doc. 22, ¶ 59).

      After four (4) days, Plaintiff was released from the Yellow Room and put

back in an administrative segregation cell until Plaintiff was transferred to a

different facility. (Doc. 27-1, p. 21).

      B.     UNDISPUTED FACTS

      On July 9, 2015, Defendant Taylor issued incident report number 2736049

alleging that Plaintiff violated Code 298 “Interfering with staff in the performance

of duties most like stalking” and Code 402 “Malingering or Feigning Illness”

Because Plaintiff visited Health Services for the same exaggerated symptoms for

three (3) days. (Doc. 25, ¶ 52). On July 9, 2015, Plaintiff was provided notice of

the charges. (Doc. 25, ¶ 53). Plaintiff was placed in the SHU on administrative

detention status.3 (Doc. 25, ¶ 54). Charges against Plaintiff were later expunged.

(Doc. 27-1, ¶ 3). All cells in the LFCI Allenwood SHU are equipped with a

personal toilet. (Doc. 25, ¶ 55).




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  The date that Plaintiff entered the SHU remains ambiguous. The Defendants did
not include a date in the Statement of Facts. Plaintiff refers to SHU transfer at or
around July 7, 2015.
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III.   PROCEDURAL BACKGROUND

       On April 11, 2017, Plaintiff initiated this action by filing a Complaint

(“Original Complaint”) against Lieutenant Barben, BOP, the Defendant John Does,

Defendant Taylor, Defendant Stoltz, and Defendant Bruno. (Doc. 1). As relief,

Plaintiff requested more than $75,000 in monetary damages. Id. Plaintiff alleged

the following counts against all defendants in his Original Complaint: (1)

malicious prosecution; (2) violation of due process; (3) Eighth Amendment

violation by failing to provide medical care and treatment which amounts to cruel

and unusual punishment; (4) Monell claim; and (5) excessive force/assault and

battery. Id.

       On September 15, 2017, Defendants filed a joint Motion to Dismiss and

Motion for Summary Judgment (“First Joint Motion to Dismiss and Motion for

Summary Judgment”). (Doc. 9). On October 13, 2017, Defendants filed their Brief

in Support, (Doc. 14), and on October 13, 2017, Defendants filed their Statement

of Facts. (Doc. 15).

       On November 27, 2017, Plaintiff filed his Amended Complaint. (Doc. 22).

Because Defendants responded to Plaintiff’s Amended Complaint, I recommend

that Defendants’ First Joint Motion to Dismiss and Motion for Summary Judgment

(Doc. 9) be DENIED as MOOT.



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      In the Amended Complaint, Plaintiff revised and removed previous claims

from the Original Complaint. Id. Plaintiff asserts the following claims in his

Amended Complaint: Malicious Prosecution against Defendants BOP and Taylor

(Count One); Violation of Due Process against all Defendants (Count Two); Cruel

and Unusual Punishment against Defendants BOP and Barben (Count Three). Id.

As relief, Plaintiff requests more than $75,000 in monetary damages. Id.

      On December 11, 2017, Defendants filed a joint Motion to Dismiss and

Motion for Summary Judgment for the Amended Complaint (“Second Joint

Motion to Dismiss and Motion for Summary Judgment”). (Doc. 23). On December

22, 2017, Defendants filed a Statement of Facts as well as their Brief in Support for

the Second Joint Motion to Dismiss and Motion for Summary Judgment. (Doc.

25); (Doc. 26).

      In their Brief in Support, Defendants argue: (1) Plaintiff failed to properly

exhaust or begin administrative remedies; (2) the Bureau of Prisons is not the

appropriate party; (3) Plaintiff failed to prove the incident report and the placement

in SHU meets the cruel and unusual punishment standard; and (4) Defendants

Barben and Taylor are entitled to qualified immunity. Id.

      On January 5, 2017, Plaintiff filed his Brief in Opposition. (Doc. 27).

Therein, Plaintiff expressed his desire to abandon all claims against Defendants

BOP and Taylor, and the Due Process claim against all Defendants. Id. Because

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Plaintiff has chosen to withdraw his claims against Defendants BOP and Taylor,

and his due process claim, I need only address his remaining Eighth Amendment

claims.

IV.   LEGAL STANDARDS

      A.       LEGAL STANDARD FOR A MOTION TO DISMISS

      A motion to dismiss tests the legal sufficiency of a complaint. It is proper for

the court to dismiss a complaint in accordance with Rule 12(b)(6) of the Federal

Rules of Civil Procedure only if the complaint fails to state a claim upon which

relief can be granted. Fed. R. Civ. P. 12(b)(6). When reviewing a motion to

dismiss, the court “must accept all factual allegations in the complaint as true,

construe the complaint in the light favorable to plaintiff, and ultimately determine

whether plaintiff may be entitled to relief under any reasonable reading of the

complaint." Mayer v. Belichick, 605 F.3d 223, 229 (3d Cir. 2010). In reviewing a

motion to dismiss, a court must "consider only the complaint, exhibits attached to

the complaint, matters of public record, as well as undisputedly authentic

documents if the [plaintiff's] claims are based upon these documents." Id. at 230.

      In deciding whether a complaint fails to state a claim upon which relief can

be granted, the court is required to accept as true all factual allegations in the

complaint as well as all reasonable inferences that can be drawn from the

complaint. Jordan v. Fox Rothschild, O'Brien & Frankel, Inc., 20 F.3d 1250, 1261

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(3d Cir. 1994). These allegations and inferences are to be construed in the light

most favorable to plaintiff. Id. However, the court "need not credit a complaint's

bald assertions or legal conclusions when deciding a motion to dismiss." Morse v.

Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997). Further, it is not proper

to "assume that [plaintiff] can prove facts that [he] has not alleged . . . .”

Associated Gen. Contractors of Cal. v. California State Council of Carpenters, 459

U.S. 519, 526 (1983).

      Following the rule announced in Ashcroft v. Iqbal, “a pleading that offers

labels and conclusions or a formulaic recitation of the elements of a cause of action

will not do.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Rather, a complaint must

recite factual allegations sufficient to raise plaintiff's claimed right to relief beyond

the level of mere speculation. Id. To determine the sufficiency of a complaint

under the pleading regime established by the Supreme Court, the court must

engage in a three step analysis:

      First, the court must take note of the elements a plaintiff must plead to
      state a claim. Second, the court should identify allegations that,
      because they are no more than conclusions, are not entitled to the
      assumption of truth. Finally, where there are well-pleaded factual
      allegations, a court should assume their veracity and then determine
      whether they plausibly give rise to an entitlement for relief.

Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir. 2010) (quoting Iqbal,

556 U.S. at 675, 679). "In other words, a complaint must do more than allege the


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plaintiff's entitlement to relief" and instead must ‘show’ such an entitlement with

its facts.” Fowler v. UPMC Shadyside, 578 F.3d 203, 211 (3d Cir. 2009).

      As the court of appeals has observed:

      The Supreme Court in Twombly set forth the “plausibility” standard
      for overcoming a motion to dismiss and refined this approach in Iqbal.
      The plausibility standard requires the complaint to allege “enough
      facts to state a claim to relief that is plausible on its face.” Twombly,
      550 U.S. at 570, 127 S.Ct. 1955. A complaint satisfies the plausibility
      standard when the factual pleadings “allow[ ] the court to draw the
      reasonable inference that the defendant is liable for the misconduct
      alleged.” Iqbal, 129 S.Ct. at 1949 (citing Twombly, 550 U.S. at 556,
      127 S.Ct. 1955). This standard requires showing “more than a sheer
      possibility that a defendant has acted unlawfully.” Id. A complaint
      which pleads facts “merely consistent with” a defendant's liability, [ ]
      “stops short of the line between possibility and plausibility of
      ‘entitlement of relief.’” Id. (citing Twombly, 550 U.S. at 557, 127
      S.Ct. 1955).

Burtch v. Milberg Factors, Inc., 662 F.3d 212, 220-21 (3d Cir. 2011).

      In undertaking this task, the court generally relies only on the complaint,

attached exhibits, and matters of public record. Sands v. McCormick, 502 F.3d 263,

268 (3d Cir. 2007). The court may also consider “undisputedly authentic

document[s] that a defendant attached as an exhibit to a motion to dismiss if the

plaintiff’s claims are based on the [attached] documents.” Pension Benefit Guar.

Corp. v. White Consol. Indus., 998 F.2d 1192, 1196 (3d Cir. 1993). Moreover,

“documents whose contents are alleged in the complaint and whose authenticity no

party questions, but which are not physically attached to the pleading, may be

considered.” Pryor v. Nat’l Collegiate Athletic Ass’n, 288 F.3d 548, 560 (3d Cir.
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2002); see also, U.S. Express Lines, Ltd. v. Higgins, 281 F.3d382, 388 (3d Cir.

2002) (holding that “[a]lthough a district court may not consider matters

extraneous to the pleadings, a document integral to or explicitly relied upon in the

complaint may be considered without converting the motion to dismiss in one for

summary judgment.”) However, the court may not rely on other parts of the record

in determining a motion to dismiss. Jordan v. Fox, Rothschild, O’Brien &Frankel,

20 F.3d 1250, 1261 (3d Cir. 1994).

      B.     LEGAL STANDARD FOR A MOTION FOR SUMMARY JUDGMENT

      Rule 56(a) of the Federal Rules of Civil Procedure provides as follows:

      A party may move for summary judgment, identifying each claim or
      defense - or the part of each claim or defense - on which summary
      judgment is sought. The court shall grant summary judgment if the
      movant shows that there is no genuine dispute as to any material fact
      and the movant is entitled to judgment as a matter of law. The court
      should state on the record the reasons for granting or denying the
      motion.

Fed. R. Civ. P. 56(a).
      For purposes of Rule 56, a fact is material if proof of its existence of

nonexistence might affect the outcome of the suit under the applicable substantive

law. Haybarger v. Laurence Cnty. Adult Prob. & Parole, 667 F.3d 408, 412 (3d

Cir. 2012) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

For an issue to be genuine, "all that is required is that sufficient evidence

supporting the claimed factual dispute be shown to require a jury or judge to


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resolve the parties' differing versions of the truth at trial." Id. (quoting Anderson,

477 U.S. at 248-49).

      Accordingly, in support of a motion for summary judgment, the moving

party must show that if the evidence of record were reduced to admissible evidence

in court, it would be insufficient to allow the non-moving party to carry its burden

of proof. See Celotex v. Catrett, 477 U.S. 317, 323 (1986). Provided the moving

party has satisfied this burden, "its opponent must do more than simply show that

there is some metaphysical doubt as to the material facts." Scott v. Harris, 550 U.S.

372, 380 (2007). Instead, if the moving party has carried its burden, the non-

moving party must then respond by identifying specific facts, supported by

evidence, which show a genuine issue for trial, and may not rely upon the

allegations or denials of its pleadings. See Martin v. Godwin, 499 F.3d 290, 295

(3d Cir. 2007); see also Fed. R. Civ. P. 56(c).

      In adjudicating the motion, the court must view the evidence presented in the

light most favorable to the opposing party, Anderson, 477 U.S. at 255, and draw all

reasonable inferences in the light most favorable to the non-moving party, Big

Apple BMW, Inc. v. BMW of North America, Inc., 974 F.2d 1358, 1363 (3d Cir.

1992). Where the non-moving party's evidence contradicts the movant's, then the

non-movant's must be taken as true. Id. Additionally, the court is not to decide

whether the evidence unquestionably favors one side or the other, or to make

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     credibility determinations, but instead must decide whether a fair-minded jury

     could return a verdict for plaintiff on the evidence presented. Id. at 252; see also

     Big Apple BMW, 974 F.2d at 1363. In reaching this determination, the Third

     Circuit has instructed that:

           To raise a genuine issue of material fact . . . the opponent need not
           match, item for item, each piece of evidence proffered by the movant.
           In practical terms, if the opponent has exceeded the "mere scintilla"
           threshold and has offered a genuine issue of material fact, then the
           court cannot credit the movant's version of events against the
           opponent, even if the quantity of the movant's evidence far outweighs
           that of its opponent. It thus remains the province of the factfinder to
           ascertain the believability and weight of the evidence. Id. In contrast,
           "[w]here the record taken as a whole could not lead a rational trier of
           fact to find for the non-moving party, there is no genuine issue for
           trial."

     Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)

     (internal quotation marks omitted); NAACP v. North Hudson Reg'l Fire & Rescue,

     665 F.3d 464, 476 (3d Cir. 2011).

V.         DISCUSSION

           A.     PLAINTIFF STATES A COGNIZABLE EIGHTH AMENDMENT CLAIM

           Plaintiff alleges Defendants deprived him of essential human needs while

     being held in the Yellow Room of SHU in violation of the Eighth Amendment’s

     Cruel and Unusual Punishment clause. (Doc. 27, p. 6). See Wilson v. Seiter, 501

     U.S. 294, 304-305 (1991) (The Eighth Amendment is violated when conditions of

     confinement “produces the deprivation of a single, identifiable human need such as

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food, warmth, or exercise”); see generally Spain v. Procunier, 600 F.2d 189, 199

(9th Cir. 1979) (outdoor exercise required when prisoners otherwise are confined

to a cell); see also Anderson, 477 U.S. at 256-57. Plaintiff asserts Defendants did

not provide Plaintiff with appropriate bedding while in the Yellow Room of SHU.

(Doc. 27-1, ¶ 19). In his Amended Complaint, Plaintiff alleges Defendants Barben

and John Does showed deliberate indifference to the conditions of the Yellow

Room. (Doc. 22, ¶ 59). Plaintiff requests this court deny the Defendants’ Motion to

dismiss his Cruel and Unusual Punishment claim.

      Defendants argue Plaintiff’s detention was not in violation of the Eighth

Amendment because prisoners should expect to be placed in SHU during their time

incarcerated. (Doc. 26, p. 10). They contend that “[a]dministrative detention is

non-punitive and may occur when an inmate is under investigation or awaiting a

hearing for a possible violation of a BOP regulation.” (Doc. 26, pp. 10-11).

Defendants allege 28 C.F.R. § 541.22(a) justified Plaintiff’s placement in the

restricted in SHU while he was awaiting hearing. Additionally, Defendants assert

they gave Plaintiff the appropriate bedding. (Doc. 26, p. 12).

             1.    Standard for Evaluating Eighth Amendment Claims

      Plaintiff alleges an Eighth Amendment conditions of confinement claim

which deprived Plaintiff of human necessities. (Doc. 27, p. 6). The Eighth

Amendment of the United States Constitution provides: “Excessive bail shall not

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be required, nor excessive fines imposed, nor cruel and unusual punishments

inflicted.” U.S. CONST. amend. XIII. The Supreme Court has stated that “the

treatment a prisoner receives in prison and the conditions under which he is

confined are subject to scrutiny under the Eighth Amendment.” Farmer v.

Brennan, 511 U.S. 825, 832-33 (1994). Thus, prison officials must “take

reasonable measures to guarantee the safety of the inmates.” Id.

      It is a “settled rule [that] the unnecessary and wanton infliction of pain . . .

constitutes cruel and unusual punishment forbidden by the Eighth Amendment.”

Hudson v. McMillian, 503 U.S. 1, 5 (1992) (quoting Whitley v. Albers, 475 U.S.

312, 319 (quoting Ingraham v. Wright, 430 U.S. 651, 670 (1977)) (internal

quotations omitted). Therefore, the question of “whether the measure taken

inflicted unnecessary and wanton pain and suffering ultimately turns on ‘whether

force was applied in a good faith effort to maintain or restore discipline or

maliciously and sadistically for the very purpose of causing harm.’” Whitley, 475

U.S at 320–321 (quoting Johnson v. Glick, 481 F.2d 1028, 1033 (2d Cir. 1973),

cert. denied sub nom. John v. Johnson, 414 U.S. 1033 (1973)).

      Regarding “conditions of confinement,” the Supreme Court has observed

that “extreme deprivations are required to make out a conditions of

confinement claim.” Hudson, 503 U.S. at 8–9. Additionally, the Third Circuit

found “[f]or conditions of confinement in prisons to constitute cruel and unusual

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punishment within the meaning of U.S. CONST. amend VIII, the conditions must

involve the wanton and unnecessary infliction of pain, or be grossly

disproportionate to the severity of the crime warranting imprisonment.” Peterkin v.

Jeffes, 855 F.2d 1021, 1023 (3d Cir. 1988). “The objective factors which a court

must examine in prison conditions cases include basic human needs such as food,

shelter, and medical care, as well as sanitation, safety, the physical plant,

educational/rehabilitational [sic] programs, the length of confinement, and out-of-

cell time.” Id. The Third Circuit established the following inquiry to determine

whether the conditions of confinement violated the Cruel and Unusual Punishment

clause of the Eighth Amendment:

      We must first determine if the deprivation was sufficiently serious to
      fall within the Eighth Amendment's zone of protections. If not, our
      inquiry is at an end. However, if the deprivation is sufficiently serious,
      we must determine if the officials acted with a
      sufficiently culpable state of mind. In other words, we must determine
      if they were motivated by a desire to inflict unnecessary and wanton
      pain.

Fuentes v. Wagner, 206 F.3d 335, 344 (3d Cir. 2000) (quoting Wilson v. Seiter,

501 U.S. 294, 299 (1991)).

      The first determination requires that Plaintiff show Defendants have

“deprive[d] inmates of the minimal civilized measure of life's necessities.” Rhodes

v. Chapman, 452 U.S. 337, 347 (1981). The Supreme Court further provides that

“the deprivation of a single, identifiable human need such as food, warmth, or

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exercise,” is sufficiently serious to satisfy an Eighth Amendment violation. Wilson,

501 U.S. at 304. An Eighth Amendment violation includes an aggregate of factors

only when;

      Conditions of confinement may establish an Eighth Amendment
      violation "in combination" when each would not do so alone, but only
      when they have a mutually enforcing effect that produces the
      deprivation of a single, identifiable human need such as food, warmth,
      or exercise…

Wilson v. Seiter, 501 U.S. 294, 299 (1991).

      To satisfy the second requirement, the court must determine whether the

prison officials had a culpable state of mind. “As described by the Supreme Court

in Farmer, the standard for determining deliberate indifference in a conditions of

confinement case is whether a prison official knew of and disregarded an excessive

risk to an inmate's health or safety.” Mitchell v. Dodrill. 696 F. Supp. 2d 454, 467

(M.D. Pa. 2010) (citing Farmer, 511 U.S. at 837).

             2.    Plaintiff’s Claim that the Yellow Room was Too Cold Should
                   Not be Dismissed

      The Court must determine whether: “(1) a deprivation that is objectively

sufficiently serious; and (2) a sufficiently culpable state of mind of the defendant

official.” Talley v. Wetzel, No. 3:15-cv-1698, 2017 U.S. Dist. LEXIS 127194 at

*13 (M.D. Pa. Aug. 9, 2017) (internal quotations omitted). First, I must resolve

whether the alleged deprivation receives Eighth Amendment protection.



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      The Supreme Court in Wilson provides a hypothetical example, specifying a

combination of factors which rise to meet an Eighth Amendment conditions of

confinement claim. 501 U.S. at 299. One such example details “a low cell

temperature at night combined with a failure to issue blankets.” Id. The example is

analogous to the instant case, particularly relating to the conditions that led to the

deprivation. Here, Plaintiff claims a deprivation of warmth that is nearly

indistinguishable from the circumstances detailed in the Wilson hypothetical.

Plaintiff alleges excessively high air conditioning, failure to issue proper bedding

materials, including but not limited to blankets, and paper thin clothing, when

considered collectively, deprived him of the right to warmth. The “mutually

enforcing effect” of these conditions yielded the deprived human need of warmth.

Id. Additionally, “[t]he Court agrees that an inmate's right to "warmth" is clearly

established.” Mauchlin v. Bier, No. 07-cv-2593, 2010 WL 419397, at *8 (D. Colo.

Jan. 28, 2010), aff'd, 396 F. App'x 519 (10th Cir. 2010). Therefore, the deprivation

of warmth is sufficiently serious to receive Eighth Amendment protection.

      Second, this Court must determine whether the prison officials had a

sufficiently culpable state of mind. The Supreme Court has explained that “[a]

prisoner claiming that conditions of confinement constitute cruel and unusual

punishment in violation of the Federal Constitution's Eighth Amendment must

show deliberate indifference on the part of prison officials.” Wilson, 501 U.S. at

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297. Additionally, the Supreme Court has held that “it is enough that the official

acted or failed to act despite his knowledge of a substantial risk of serious harm.”

Farmer, 511 U.S. at 825.

      Here, when considered in the light most favorable to the Plaintiff, I find

Plaintiff has sufficiently alleged that Lt. Barben had a culpable state of mind when

he acted by relocating Plaintiff to the Yellow Room with knowledge that Plaintiff

would be subjected to serious harm such as the deprivation of warmth. (Doc. 22, ¶

54); Talley, No. 3:15-cv-1698, 2017 U.S. Dist. LEXIS 127194 at *13.

Additionally, Plaintiff alleges prison guards, who this Court construes as

Defendants John Does (1-10), harassed Plaintiff by questioning if Plaintiff was

“ready to tap out.” (Doc. 27-1, ¶ 24). Here, it can reasonably be determined that

Defendants John Does failed to act to remove Plaintiff from serious harm and had

knowledge of the conditions Plaintiff endured while confined to the Yellow Room,

thus demonstrating Defendant John Does had sufficiently culpable states of mind.

Talley, No. 3:15-cv-1698, 2017 U.S. Dist. LEXIS 127194 at *13. Viewing the facts

in the light most favorable to the Plaintiff, Defendants Lieutenant Barben and John

Does had sufficiently culpable state of mind. For these reasons, I recommend

Defendants Motion to Dismiss Plaintiff’s Eighth Amendment claim that the

Yellow Room was too cold be denied and the claims be allowed to proceed.



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            3.     Plaintiff’s Claim Regarding the Yellow Room’s Constant
                   Illumination Should be Dismissed

      To establish that constant illumination meets an Eighth Amendment

violation, the illumination must cause “grave sleeping problems.” Brown v.

Martinez, 2007 WL 2225842, at *26 (M.D. Pa. July 31, 2007) (quoting Keenan v.

Hall, 83 F.3d 1083, 1091 (9th Cir. 1996)).

      The Third Circuit provides for an Eighth Amendment violation to exist

Plaintiff must show material facts demonstrating he suffered a physical or mental

harm from constant illumination. Brown, 2007 WL 2225842, at *8 (holding there

was not a constitutional violation because the Plaintiff failed to allege constant

illumination caused medical or mental harm,); Bacon v. Minner, 229 F. App'x 96,

100 (3d Cir. 2007) (holding that “[Plaintiff] has not alleged…he has suffered any

significant medical condition as a result of the pattern of lighting in his cell”);

Stewart v. Beard, 417 F. App'x 117, 119 (3d Cir. 2011) (holding that Plaintiff

failed to prove “twenty-four hour lighting had caused any physical or mental

problems to the extent that they required medical attention”); Spencer v. Wetzel,

No. 3:12-cv-6161, 2014 WL 1056424, at *2 (M.D. Pa. Mar. 17, 2014), aff'd sub

nom. Spencer v. Sec'y Dep't of Corr., 618 F. App'x 85 (3d Cir. 2015) (holding

“Plaintiff offered no evidence that he suffered any sleeping, medical and

psychological problems as a result of the security light”); and Sims v. Piazza, 462


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F. App'x 228, 232 (3d Cir. 2012) (held the constant illumination did not violate the

Eighth Amendment because Plaintiff was not medically harmed).

      The instant case is analogous to Brown, Stewart, Spencer, or Sims. In each

case, the District Court denied the Eighth Amendment claim because Plaintiff did

not prove that he suffered a medical injury from the sleep deprivation. Brown,

2007 WL 2225842, at *8; Sims, 2011 WL 3664797 at *232; Spencer, 2014 WL

2930228 at *2; Stewart, 2011 417 F. App’x. at 119. Here, Plaintiff fails to allege

sufficient facts to support his contention that the constant illumination caused a

medical injury. For the reasons stated, I recommend the Eighth Amendment claim

regarding the deprivation of sleep be dismissed.

            4.     Plaintiff’s Eighth Amendment Claim regarding Exercise should
                   be Dismissed

      The case law surrounding the issue of exercise clearly states that prisoners

held in isolation without exercise for a period of time does not violate the Eighth

Amendment. Bensinger v. Capt. 2 to 10:00 on Feb 18th 94, No. 94-1532, 1995

WL 30609, at *6 (E.D. Pa. Jan. 18, 1995) (holding that four (4) days without

exercise does not constitute an Eighth Amendment violation); Robinson v.

Southers, No. 3:13-cv-1603, 2018 U.S. Dist. LEXIS 50628, at *26 (M.D. Pa. Mar.

26, 2018) (held one week without exercise in Special Housing Unit does not meet

an Eighth Amendment violation); Rodriguez v. Thomas, 299 F. Supp. 3d 618, 639


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(M.D. Pa. 2018) (held ninety-one (91) days without exercise did not constitute an

Eighth Amendment violation because Plaintiff did not suffer medical harm).

      Here, Plaintiff’s claim regarding deprivation of exercise fails to meet an

Eighth Amendment violation. In Rodriguez, Plaintiff did not receive exercise for

ninety-one (91) days and the court denied an Eighth Amendment violation.

Rodriguez, 299 F. Supp. 3d at 639. Similarly in Robinson and Bensinger, Plaintiffs

did not receive exercise for seven (7) and fifteen (4) days, respectively, and those

“deprivations” did not amount to an Eighth Amendment violation. Robinson, No.

3:13-cv-1603, 2018 U.S. Dist. LEXIS 50628 at *26; see also Rodriguez, 299 F.

Supp.3d at 639; Bensinger, 1995 WL 30609 at *6. Here, Plaintiff asserts isolation

for four (4) consecutive days without access to exercise. (Doc. 27-1, ¶ 25). Similar

to Bensinger, Robinson, and Rodriguez, this case fails to meet a “deprivation”

under the Eighth Amendment. For the reasons stated, I recommend the Eighth

Amendment claim regarding deprivation of exercise be dismissed.

             5.    Plaintiff’s Eighth Amendment Claim regarding deprivation of
                   food should be dismissed

      “[P]rison officials must ensure that inmates receive adequate food, clothing,

shelter, and medical care.” Farmer, 511 U.S. at 832; see also Ramos v. Lamm, 639

F.2d 559, 571 (10th Cir. 1980) (held requiring prisoners need “nutritionally

adequate food”). “[O]nly a substantial deprivation of food to a prisoner sets forth a

viable Eighth Amendment claim.” Robles v. Coughlin, 725 F.2d 12, 15 (2d Cir.
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1983) (citing Lindsey v. O'Connor, 327 Fed. App’x. 319, 321 (3d Cir. 2009)). A

‘substantial deprivation’ does not exist in this claim. Cunningham v. Jones, 567

F.2d 653, 660 (6th Cir. 1977) (holding that withholding two meals per day does not

rise to a constitutional violation because inmate receive required nutrition from one

meal per day); see also Zanders v. Ferko, 439 F. App’x 158, 160 (3d Cir. 2011)

(holding that “deprivation of three meals over two days fails to rise to the level of a

constitutional violation”).

      Claims more substantial than the instant case included prison officials

withholding meals from prisoners, and it did not rise to meet a constitutional

violation. Zanders, 439 F. App'x, at 160. Since Plaintiff received and consumed

food, the alleged deprivation fails to meet an Eighth Amendment violation. For the

reasons stated, I recommend the Eighth Amendment claim regarding food be

dismissed.

      B. DEFENDANTS ARE NOT ENTITLED TO SUMMARY JUDGMENT WITH
         RESPECT TO PLAINTIFF’S CLAIM THAT THE YELLOW ROOM WAS TOO
         COLD
      Defendants argue they are entitled to summary judgment for the Cruel and

Unusual Punishment claims. (Doc. 26, p. 17). However, Plaintiff identified a

dispute of material fact exists relating to the conditions of confinement. (Doc. 27,

p. 7). Plaintiff emphasizes that disputes of genuine material facts prevent this court

from entering judgment. (Doc. 27, p. 9). Plaintiff asserts Defendants are not

entitled to judgment in their favor while a dispute of genuine material fact exists.
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      It is a well-settled legal principle that “[o]nly disputes over facts that might

affect the outcome of the suit under the governing law will properly preclude the

entry of summary judgment.” Anderson, 477 U.S. at 248. The Third Circuit has

held: “Moreover, a party who seeks to resist a summary judgment motion by citing

to disputed material issues of fact must show by competent evidence that such

factual disputes exist.” Am. Power, LLC v. Speedco, Inc., 2017 WL 4084060 at *6

(M.D. Pa. Jan. 17, 2017), report and recommendation adopted, 2017 WL 4150463

(M.D. Pa. Aug. 24, 2017).

      Here, the dispute is in relation to the conditions of confinement and items

issued to Plaintiff in the SHU. Specifically, Plaintiff alleges “he was deprived of

the prison-issued clothing, and regulated sheets, blanket, and towel, which he could

have used to keep warm.” (Doc. 27, p. 6; Doc. 27-1, ¶ 19). If Plaintiff had received

those items, the claim would not exist. Therefore, the dispute of material fact

would affect the outcome of this claim. Defendants provide evidence in form of

Statement of Material Facts (Doc. 25, ¶ 56). Plaintiff provides evidence in the form

of an Affidavit of Plaintiff, Anthony Mammana. (Doc. 27-3). For the reasons

stated, I recommend that Defendants’ Motion for Summary Judgment be denied.

Plaintiff’s Eighth Amendment claim that the Yellow Room was too cold should be

permitted to proceed.



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VI.   RECOMMENDATION

      For the reasons articulated herein, I RECOMMEND that:

      1.   Defendants’ First Motion to Dismiss and/or, in the alternative, for
           Summary Judgment (Doc. 9) be DENIED as moot.

      2.   Defendants’ Second Motion to Dismiss and/or, in the alternative, for
           Summary Judgment (Doc. 23) be GRANTED IN PART as follows:

           a.    Defendants Nurse Taylor and the Bureau of Prisons be
                 DISMISSED from the Complaint;

           b.    Plaintiff’s claim of Malicious Prosecution be DISMISSED
                 WITHOUT PREJUDICE;

           c.    Plaintiff’s claim of violation of Due Process be DISMISSED
                 WITHOUT PREJUDICE;

           d.    Defendants’ Motion to Dismiss and/or, in the alternative, for
                 Summary Judgment regarding Plaintiff’s Eighth Amendment
                 deprivation of warmth be DENIED;

           e.    Plaintiff’s claim of the Eighth Amendment’s Cruel and Unusual
                 Punishment Clause regarding deprivation of sleep be
                 DISMISSED WITHOUT PREJUDICE;

           f.    Plaintiff’s claim of the Eighth Amendment’s Cruel and Unusual
                 Punishment Clause regarding deprivation exercise be
                 DISMISSED WITHOUT PREJUDICE; and

           g.    Plaintiff’s claim of the Eighth Amendment’s Cruel and Unusual
                 Punishment Clause regarding deprivation of food be
                 DISMISSED WITHOUT PREJUDICE.




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      3.    Plaintiff’s Eighth Amendment claims against Lt. Barden and
            Defendant John Does that the Yellow Room was too cold be
            permitted to proceed.

Date: July 23, 2018                     BY THE COURT

                                        s/William I. Arbuckle
                                        William I. Arbuckle
                                        U.S. Magistrate Judge




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                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY MAMMANA,              )               CIVIL ACTION NO. 4:17-cv-0645
           Plaintiff          )
                              )               ( BRANN, D.J.)
     v.                       )
                              )               (ARBUCKLE, M.J.)
FEDERAL BUREAU OF PRISONS, et )
al.,                          )
             Defendants       )
                 NOTICE OF LOCAL RULE 72.3
NOTICE IS HEREBY GIVEN that any party may obtain a review of the Report
and Recommendation pursuant to Local Rule 72.3, which provides:
   Any party may object to a magistrate judge’s proposed findings,
   recommendations or report addressing a motion or matter described in 28
   U.S.C. § 636 (b)(1)(B) or making a recommendation for the disposition of a
   prisoner case or a habeas corpus petition within fourteen (14) days after
   being served with a copy thereof. Such party shall file with the clerk of
   court, and serve on the magistrate judge and all parties, written objections
   which shall specifically identify the portions of the proposed findings,
   recommendations or report to which objection is made and the basis for such
   objections. The briefing requirements set forth in Local Rule 72.2 shall
   apply. A judge shall make a de novo determination of those portions of the
   report or specified proposed findings or recommendations to which
   objection is made and may accept, reject, or modify, in whole or in part, the
   findings or recommendations made by the magistrate judge. The judge,
   however, need conduct a new hearing only in his or her discretion or where
   required by law, and may consider the record developed before the
   magistrate judge, making his or her own determination on the basis of that
   record. The judge may also receive further evidence, recall witnesses, or
   recommit the matter to the magistrate judge with instructions.

Date: July 23, 2018                         BY THE COURT

                                            s/William I. Arbuckle
                                            William I. Arbuckle
                                            U.S. Magistrate Judge

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